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                                                                           U.S. DISTRICT COURT



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                                                                             CENTRAL DISTRICT OF CALIFORNIA
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8                               UNITED STATES DISTRICT COURT

9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                  January 2020 Grand Jury

11   UNITED STATES OF AMERICA,                       CR 2:21-cr-00106-MCS

12               Plaintiff,                          I N D I C T M E N T

13                      v.                           [18 U.S.C. § 1956(h): Conspiracy
                                                     to Launder Money; 21 U.S.C. § 846:
14   U.S. PRIVATE VAULTS, INC.,                      Conspiracy to Distribute
       California Corporate                          Controlled Substances; 18 U.S.C.
15     Number C3405297,                              371: Conspiracy to Structure
                                                     Transactions; 18 U.S.C.
16               Defendant.                          § 982(a)(1), 21 U.S.C. §§ 853 and
                                                     881(a)(6), 28 U.S.C. § 2461(c) and
17                                                   31 U.S.C. § 5317(c): Criminal
                                                     Forfeiture]
18
19         The Grand Jury charges:
20                                           COUNT ONE
21                                   [18 U.S.C. § 1956(h)]
22   A.    INTRODUCTORY ALLEGATIONS
23         1.    At times relevant to this Indictment:
24               a.     Defendant U.S. PRIVATE VAULTS, INC. (“USPV”), a Nevada
25   Corporation registered with the California Secretary of State, was in
26   the business of renting safety deposit boxes to individuals who
27   wished to do so anonymously.
28               b.     Co-conspirator USPV Officer was an officer of USPV and
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1    one of its owners.    USPV Officer dealt in marijuana, in violation of

2    the laws of California, as well as cocaine.

3               c.     Co-conspirator USPV Manager was the manager of USPV.

4    USPV Manager helped USPV Officer arrange drug deals within USPV, and

5    helped USPV customers avoid detection by law enforcement, including

6    by advising them to structure their cash purchases to avoid reporting

7    requirements.

8               d.     Co-conspirator Gold Business was a dealer in precious

9    metals and jewelry, and shared the same space as USPV, as well as
10   some employees.    Gold Business helped USPV customers convert their
11   cash into gold, and structured their cash transactions to avoid
12   federal reporting requirements.
13              e.     Co-conspirator USPV Representative One was a
14   representative of USPV, and an owner of co-conspirator Gold Business.
15   USPV Representative One instructed USPV customers how to structure
16   transactions to avoid federal reporting requirements.
17              f.     Co-conspirator USPV Representative Two was a
18   representative of USPV, and an owner of co-conspirator Gold Business.
19   USPV Representative Two instructed USPV customers how to structure

20   transactions to avoid federal reporting requirements.

21   B.   THE OBJECTS OF THE CONSPIRACY

22        2.    Beginning in or before 2019, and continuing through the

23   date of this Indictment, in Los Angeles County, within the Central

24   District of California, and elsewhere, defendant USPV conspired with

25   others known and unknown to the Grand Jury to launder money, in

26   violation of Title 18, United States Code, Section 1956, namely:

27              a.     to knowingly conduct and attempt to conduct financial

28   transactions involving the proceeds of a specified unlawful activity,

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1    that is, the distribution of controlled substances, with the intent

2    to promote the carrying on of that specified unlawful activity, in

3    violation of Title 18, United States Code, Section 1956(a)(1)(A)(i);

4               b.   to knowingly conduct and attempt to conduct financial

5    transactions involving the proceeds of specified unlawful activity,

6    that is, the distribution of controlled substances, knowing that the

7    transactions were designed in whole or in part to conceal and

8    disguise the nature, location, source, ownership, and control of the

9    proceeds of specified unlawful activity, in violation of Title 18,
10   United States Code, Section 1956(a)(1)(B)(i); and
11              c.   to knowingly conduct and attempt to conduct financial
12   transactions involving the proceeds of specified unlawful activity,
13   that is, the distribution of controlled substances, knowing that the
14   transactions were designed in whole or in part to avoid a transaction
15   reporting requirement under Federal law, in violation of Title 18,
16   United States Code, Section 1956(a)(1)(B)(ii).
17   C.   MANNER AND MEANS OF THE CONSPIRACY

18        3.    The objects of the conspiracy were carried out and were to
19   be carried out, in substance, as follows:

20              a.   Defendant USPV would adopt business practices that

21   attracted customers in possession of proceeds from criminal offenses,

22   including drug trafficking, and not law-abiding persons.           Such

23   practices included: (1) touting the anonymity of the safety deposit

24   rentals that defendant USPV would provide, including by advertising

25   “we don’t even want to know your name”; (2) boasting that, unlike

26   banks, its anonymous safety deposit box rentals did not require

27   customer information that “can be easily accessed by government

28   agencies (such as the IRS)”; (3) making arrangements for the payment

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1    of the rental fees in cash and other ways that would be untraceable;

2    (4) issuing safety deposit box keys that were unmarked and unnumbered

3    so that law enforcement could not determine that the keys unlocked

4    safety deposit boxes at USPV; and (5) charging safety deposit box

5    rental rates several times higher than those at banks.

6               b.   USPV Officer would capitalize defendant USPV with the

7    proceeds of his illegal drug trafficking.

8               c.   USPV Officer would invite other drug traffickers who

9    knew and trusted him because of his illegal drug trafficking to store
10   the proceeds of their drug trafficking at defendant USPV.
11              d.   Employees of defendant USPV would conduct counter
12   surveillance of the neighborhood and warn customers when they
13   observed law enforcement.
14              e.   Agents of defendant USPV would instruct customers to
15   structure transactions to avoid currency transaction reports
16   including by purchasing gold and other precious metals through Gold
17   Business, which would structure transactions and not file required
18   currency reports.
19              f.   If agents of defendant USPV learned that law

20   enforcement was interested in searching or seizing the contents of a

21   particular customer’s safety deposit box, they would attempt to warn

22   the customer, delay law enforcement, or even remove all but a nominal

23   amount of cash from the box for the customer, to prevent law

24   enforcement from discovering and seizing the bulk of the cash.

25              g.   Defendant USPV would deposit the cash proceeds it

26   received from its customers for safety deposit box rentals, which

27   included proceeds from the distribution of controlled substances,

28   into its bank account, and then use those proceeds to maintain USPV’s

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1    anonymous storage facilities for its criminal customers.

2               h.   USPV Officer and USPV Manager would negotiate drug

3    deals illegal under California law within the secured space of USPV,

4    and USPV Officer would store the cash proceeds from drug deals within

5    a safety deposit box at USPV.

6               i.   USPV Manager would accept cash purportedly from

7    illegal drug sales, and structure transfers of it to Gold Business in

8    amounts not greater than $10,000 at a time in exchange for wire

9    transfers that purported to be for the sale of precious metals.
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1                                      COUNT TWO

2                                  [21 U.S.C. § 846]

3            4.   The Grand Jury realleges paragraph 1 of this Indictment

4    here.

5    A.   OBJECTS OF THE CONSPIRACY

6         5.      Beginning in or before 2019, and continuing through the

7    date of this Indictment, in Los Angeles County, within the Central

8    District of California, and elsewhere, defendant U.S. PRIVATE VAULTS,

9    INC. conspired with others known and unknown to the Grand Jury to
10   distribute controlled substances, including marijuana, a Schedule I
11   controlled substance, and cocaine, a Schedule II narcotic drug
12   controlled substance, in violation of Title 21, United States Code,
13   Sections 841(a)(1), (b)(1)(C), and (b)(1)(D).
14   B.   MANNER AND MEANS OF THE CONSPIRACY

15        6.      The objects of the conspiracy were carried out, and to be

16   carried out, as described in paragraph 3 of this Indictment, which

17   the Grand Jury realleges here.

18   C.   OVERT ACTS
19        7.      In furtherance of the conspiracy and to accomplish the

20   objects of the conspiracy, on or about the following dates, defendant

21   USPV, acting through its officers and managers, committed various

22   overt acts within the Central District of California, including but

23   not limited to the following:

24        Overt Act No. 1:     On June 28, 2019, USPV Manager distributed

25   within USPV’s business location six different butane hash oil vape

26   cartridges containing THC to someone he believed to be a drug

27   trafficker, but who was, in fact, a confidential informant working

28   with law enforcement (“Confidential Informant 3”), as samples of what

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1    defendant USPV could provide in bulk.

2         Overt Act No. 2:     On July 26, 2019, USPV Officer met

3    Confidential Informant 3 within USPV to sell him 1,000 vape

4    cartridges containing THC.      USPV Officer delivered the cartridges in

5    the parking lot of USPV, and received in exchange $8,000 in cash

6    within USPV’s business location.

7         Overt Act No. 3:     On or about December 11, 2019, during

8    discussions for the sale of cocaine, USPV Officer instructed the

9    buyer, Confidential Informant 3, to use a wireless communication
10   application called “Signal,” which is encrypted to communicate with
11   him regarding the transaction.
12        Overt Act No. 4:     On or about December 16, 2019, USPV Officer

13   instructed Confidential Informant 3 to come to USPV to complete the

14   exchange.

15        Overt Act No. 5:     On or about December 16, 2019, USPV Manager

16   called Confidential Informant 3 and explained that co-conspirator

17   USPV Officer was not being careful enough, and could bring unwanted

18   law enforcement attention to defendant USPV by conducting this drug
19   deal onsite.

20        Overt Act No. 6:     On or about December 18, 2019, USPV Officer

21   sold an ounce of cocaine to Confidential Informant 3 through

22   intermediaries.

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1                                     COUNT THREE

2                                  [18 U.S.C. § 371]

3         8.       The Grand Jury realleges paragraph 1 of this Indictment

4    here.

5    A.      OBJECTS OF THE CONSPIRACY

6            9.    Beginning in or before 2019, and continuing through the

7    date of this Indictment, in Los Angeles County, within the Central

8    District of California, and elsewhere, defendant U.S. PRIVATE VAULTS,

9    INC. conspired with others known and unknown to the Grand Jury to
10   knowingly and for the purpose of evading the reporting requirements
11   of Section 5331 of Title 31, United States Code, and the regulations
12   promulgated thereunder: (1) cause and attempt to cause a nonfinancial
13   trade or business to fail to file a report required under Section
14   5331 of Title 31, and any regulation prescribed under any such
15   Section, in violation of Title 31, United States Code, Section
16   5324(b)(1); and (2) structure, assist in structuring, and attempt to
17   structure and assist in structuring, transactions with one or more
18   nonfinancial trades or businesses, in violation of Title 31, United
19   States Code, Section 5324(b)(3).

20   B.      MANNER AND MEANS OF THE CONSPIRACY

21           10.   The objects of the conspiracy were carried out, and to be

22   carried out, as described in paragraph 3 of this Indictment, which

23   the Grand Jury realleges here.

24   C.      OVERT ACTS

25           11.   In furtherance of the conspiracy and to accomplish the

26   objects of the conspiracy, on or about the following dates, defendant

27   USPV, acting through its officers and managers, committed various

28   overt acts within the Central District of California, including but

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1    not limited to the following:

2         Overt Act No. 1:     On December 4, 2019, Gold Business sold

3    jewelry for $11,900 in cash to a customer of USPV who was also a

4    confidential informant working with law enforcement (“Confidential

5    Informant 1”), and did not file the required IRS Form 8300.

6         Overt Act No. 2:     On January 13, 2020, USPV Representative One

7    told a customer of USPV who was also a confidential informant working

8    with law enforcement (“Confidential Informant 4”), and who expressed

9    an interest in buying $20,000 worth of precious metals in cash, to
10   purchase only $10,000 at a time to avoid paperwork.
11        Overt Act No. 3:     On January 28, 2020, USPV Representative Two

12   told a DEA agent who was posing as a USPV customer and said he wanted

13   to purchase $18,000 in gold, “I recommend you stay under $10,000 in

14   cash and then you could just do some one day, and a few days later

15   you could do the other,” and explained, “If you buy less than $10,000

16   then there's no form.”

17        Overt Act No. 4:     On January 29, 2020, USPV Manager instructed

18   Confidential Informant 3, who wanted to buy gold to pay a “skante”
19   debt “down south,” meaning a debt in Mexico for methamphetamine, to

20   keep his purchases under $10,000 each:        “That way you don't have to

21   give no social security, no ID. All that shit goes to the IRS.”              USPV

22   Manager introduced Confidential Informant 3 to co-conspirator USPV

23   Representative One to purchase the gold.

24        Overt Act No. 5:     On January 29, 2020, USPV Representative One

25   explained to Confidential Informant 3 and his friend, who was

26   actually an undercover police officer (“Undercover Officer”), that it

27   was better to space out his cash purchases and keep each one under

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1    $10,000:   “Don't come in every day. . . . what they look for is a

2    pattern of someone who with intention is trying to get around . . .”

3         Overt Act No. 6:     On January 29, 2020, when Undercover Officer

4    explained that he needed more than $10,000 worth of gold quickly,

5    USPV Manager suggested that he split the purchase between himself and

6    Confidential Informant 3, so that each purchase would be under

7    $10,000 individually.     USPV Representative One agreed to the ruse “as

8    long as you hand me the money” separately and fill out receipts for

9    two separate transactions.      USPV Representative One also agreed that
10   Undercover Officer could pick up the total gold purchase alone the
11   following day.
12        Overt Act No. 7:     On January 29, 2020, USPV Representative One

13   accepted first $9,900 in cash from Undercover Officer and then

14   another $5,000 which Undercover Officer handed to Confidential

15   Informant 3, who then handed it to USPV Representative One.

16        Overt Act No. 8:     On January 30, 2020, USPV Representative One

17   delivered nine ounces of gold bullion to Undercover Officer.

18        Overt Act No. 9:     On November 17, 2020, USPV Manager accepted
19   $25,000 in cash from Confidential Informant 3, who said it was from

20   the sale of “skante” (methamphetamine), and structured the transfer

21   of it to Gold Business in exchange for wire transfers of $10,000 and

22   $12,000, purportedly from the sale of gold, to launder the cash.

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1                             FORFEITURE ALLEGATION ONE

2                              [18 U.S.C. § 982(a)(1)]

3               Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given to defendant U.S. PRIVATE VAULTS,

5    INC. that the United States will seek forfeiture as part of any

6    sentence in accordance with Title 18, United States Code, Section

7    982(a)(1), in the event of defendant USPV’s conviction under Count

8    One of this Indictment.

9               Defendant USPV shall forfeit to the United States the
10   following property:
11              a.   All right, title, and interest in any and all property,

12   real or personal, involved in or traceable to any transaction set

13   forth in Count One of this Indictment, including, without limitation

14   the property set forth in paragraph 3 below; and

15              b.   A sum of money equal to the total value of the property

16   described in subparagraph a above.

17              The Grand Jury finds probable cause to believe that the

18   following property, located at U.S. PRIVATE VAULTS, INC., 9182 WEST
19   OLYMPIC BLVD., BEVERLY HILLS, CA 90212, is subject to forfeiture on

20   the grounds set forth in paragraph 2 above:

21              a.    The business computers;

22              b.    The money counters;

23              c.    The nests of safety deposit boxes and keys;

24              d.    The digital and video surveillance and security

25   equipment; and

26              e.    The biometric scanners.

27               Pursuant to Title 21, United States Code, Section 853(p),

28   as incorporated by Title 18, United States Code, Section 982(b),

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1    defendant USPV shall forfeit substitute property, up to the value of

2    the property described in paragraph 2 above if, as the result of any

3    act or omission of defendant USPV, the property described in

4    paragraph 2 above or any portion thereof (a) cannot be located upon

5    the exercise of due diligence; (b) has been transferred, sold to, or

6    deposited with a third party; (c) has been placed beyond the

7    jurisdiction of the court; (d) has been substantially diminished in

8    value; or (e) has been commingled with other property that cannot be

9    divided without difficulty.
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1                             FORFEITURE ALLEGATION TWO

2                    [21 U.S.C. § 881(a)(6), 28 U.S.C. § 2461(c)

3                                and 21 U.S.C. § 853]

4          1.   Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby

5    given to defendant U.S. PRIVATE VAULTS, INC. that the United States

6    will seek forfeiture as part of any sentence in accordance with Title

7    21, United States Code, Section 881(a)(6), Title 28, United States

8    Code, Section 2461(c), and Title 21, United States Code, Section 853,

9    in the event of defendant USPV’s conviction under Count Two of this
10   Indictment.
11         2.   Defendant USPV shall forfeit to the United States the
12   following property:
13              a.   All right, title, and interest in any and all property,
14   real or personal:
15                     i.    constituting, or derived from, any proceeds
16   obtained, directly or indirectly, as a result of the offense set
17   forth in Count Two of this Indictment, including, without limitation,
18   the property set forth in paragraph 3 below; or
19                     ii.   used, or intended to be used, in any manner or

20   part, to commit, or to facilitate the commission of the offense set

21   forth in Count Two of this Indictment, including, without limitation,

22   the property set forth in paragraph 3 below; and

23              b.   A sum of money equal to the total value of the property

24   described in subparagraph a above.

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1         3.    The Grand Jury finds probable cause to believe that the

2    following property, located at U.S. PRIVATE VAULTS, INC., 9182 WEST

3    OLYMPIC BLVD., BEVERLY HILLS, CA 90212, is subject to forfeiture on

4    one or more of the grounds set forth in paragraph 2 above:

5               a.    The business computers;

6               b.    The money counters;

7               c.    The nests of safety deposit boxes and keys;

8               d.    The digital and video surveillance and security

9    equipment; and
10              e.    The biometric scanners.
11        4.    Pursuant to Title 21, United States Code, Section 853(p),
12   as incorporated by Title 28, United States Code, Section 2461(c),
13   defendant USPV shall forfeit substitute property, up to the value of
14   the property described in paragraph 2 above if, as the result of any
15   act or omission of defendant USPV, the property described in
16   paragraph 2 above or any portion thereof (a) cannot be located upon
17   the exercise of due diligence; (b) has been transferred, sold to, or
18   deposited with a third party; (c) has been placed beyond the
19   jurisdiction of the court; (d) has been substantially diminished in

20   value; or (e) has been commingled with other property that cannot be

21   divided without difficulty.

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1                             FORFEITURE ALLEGATION THREE

2                    [31 U.S.C. § 5317(c) and 28 U.S.C. § 2461(c)]

3         1.   Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby

4    given to defendant U.S. PRIVATE VAULTS, INC. that the United States

5    will seek forfeiture as part of any sentence in accordance with Title

6    31, United States Code, Section 5317(c), and Title 28, United States

7    Code, Section 2461(c), in the event of defendant USPV’s conviction

8    under Count Three of this Indictment.

9         2.   Defendant USPV shall forfeit to the United States the
10   following property:
11             a.    All right, title, and interest in any and all property,
12   real or personal, involved in or traceable to the offense set forth
13   in Count Three of this Indictment, including, without limitation, the
14   property set forth in paragraph 3 below; and
15             b.    A sum of money equal to the total value of the property
16   described in subparagraph a above.
17        3.    The Grand Jury finds probable cause to believe that the
18   following property, located at U.S. PRIVATE VAULTS, INC., 9182 WEST
19   OLYMPIC BLVD., BEVERLY HILLS, CA 90212, is subject to forfeiture on

20   the grounds set forth in paragraph 2 above:

21              a.     The business computers;

22              b.     The money counters;

23              c.     The nests of safety deposit boxes and keys;

24              d.     The digital and video surveillance and security

25   equipment; and

26              e.     The biometric scanners

27        4.    Pursuant to Title 21, United States Code, Section 853(p),

28   as incorporated by Title 31, United States Code, Section

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1    5317(c)(1)(B), and Title 28, United States Code, Section 2461(c),

2    defendant USPV shall forfeit substitute property, up to the value of

3    the property described in paragraph 2 above if, as the result of any

4    act or omission of defendant USPV, the property described in

5    paragraph 2 above or any portion thereof (a) cannot be located upon

6    the exercise of due diligence; (b) has been transferred, sold to, or

7    deposited with a third party; (c) has been placed beyond the

8    jurisdiction of the court; (d) has been substantially diminished in

9    value; or (e) has been commingled with other property that cannot be
10   divided without difficulty.
11                                        A TRUE BILL

12                                                  /S/
13                                        Foreperson

14   TRACY L. WILKISON
     Acting United States Attorney
15

16

17   BRANDON D. FOX
     Assistant United States Attorney
18   Chief, Criminal Division

19   RANEE A. KATZENSTEIN
     Assistant United States Attorney
20   Chief, Major Frauds Section

21   ANDREW BROWN
     Assistant United States Attorney
22   Major Frauds Section

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